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                             UNITED STATES BANKRUPTCY
                            COURT SOUTHERN DISTRICT OF
                                      FLORIDA
                                  www.flsb.uscourts.gov


In re:                                                         Chapter 11
TGP COMMUNICATIONS, LLC                                        Case No. 24-13938-MAM
Debtor.
                                          /


             DECLARATION OF


         •     I,                                                           , am over the age of 18

and make this Declaration in support of Debtor and Debtor in Possession TGP Communications,

LLC’s (“Debtor”) Motion to Suppress Personally Identifiable Information for Certain Individual

Creditors (ECF No. 26).

         •     I make this Declaration based on personal knowledge.

         •     I am currently a writer/contractor for Debtor. I have been writing for Debtor

since 2024. I am also an individual creditor for Debtor in the instant bankruptcy.

         •     Because of my writing for Debtor and/or other similar online publications, I have

received threats of physical harm and violence from members of the public, and I periodically

receive or have received harassing electronic communications from members of the public who

profess to hate me and my writing, and who have stated they wish to inflict physical harm

upon my person.

         •     Because of the harassing and threatening electronic communications I have

received, I have written and currently write articles under a pseudonym.
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       •       Although I am a creditor, I do not want my personally identifiable information,

including, but not limited to my legal name, email address, phone number, and home address

released to the public in Debtor’s bankruptcy.

       •       Specifically, I am in fear for my life and safety: I strongly believe that were my

personally identifiable information made readily available to the public, I would be placed in

great physical danger.



       •       Because of this, I ask the Bankruptcy Court to keep and preserve my personally

identifiable information, including but not limited to my name, email address, phone number,

and home address sealed and unavailable to the public. At the same time, I understand that

parties in interest to these bankruptcy proceedings have a right to contact me, and I do not object

to the parties in interest (or the Court) having knowledge of and access to my personally

identifiable information as stated above so that they may contact me to the extent they have a

right to do so as part of TGP’s bankruptcy.

       Further, affiant sayeth not.




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